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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 HERMÈS INTERNATIONAL and                                    No. 22-cv-00384-JSR
 HERMÈS OF PARIS, INC.,
                                                             ECF Case
                   Plaintiffs,
                                                             DECLARATION OF RHETT O.
                      v.                                     MILLSAPS II IN SUPPORT OF
                                                             ROTHSCHILD’S OPPOSITION
 MASON ROTHSCHILD,                                           TO PLAINTIFFS’ MOTION FOR
                                                             SUMMARY JUDGMENT
                  Defendant.




I, RHETT O. MILSAPS II, hereby declare as follows:

       1.       I am the managing member of the law firm Lex Lumina PLLC, counsel to

Defendant Mason Rothschild in this action. I submit this declaration in support of Mr.

Rothschild’s Opposition to Plaintiffs’ Motion for Summary Judgment. I make this declaration

based upon my knowledge of matters in this action and to place before the Court the following

documents.

       2.       Attached hereto as Exhibit 1 is a true and correct copy of documents produced by

Mr. Rothschild in this action, Bates numbered Rothschild0011356-11359, Rothschild0011416-

11428, Rothschild0014566-14594, Rothschild0014660-14663, Rothschild0014683-14685,

Rothschild0014687-14694, and Rothschild0014796-14802.

       3.       Attached hereto as Exhibit 2 is a true and correct copy of excerpts from the

deposition transcript of Blake Gopnik, dated September 23, 2022.

       4.       Attached hereto as Exhibit 3 is a true and correct copy of excerpts from the

deposition transcript of Mason Rothschild, dated August 4, 2022.
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       5.       Attached hereto as Exhibit 4 is a true and correct copy of excerpts from the

deposition transcript of Scott Kominers, dated August 29, 2022.

       6.       Attached hereto as Exhibit 5 is a true and correct copy of excerpts from the

deposition transcript of Nicolas Martin, dated August 30, 2022.

       7.       Attached hereto as Exhibit 6 is a true and correct copy of excerpts from the

deposition transcript of Boriana Guimberteau, dated Sept. 14, 2022.

       8.       Attached hereto as Exhibit 7 is a true and correct copy of excerpts from the

deposition transcript of Kenneth Loo, dated August 10, 2022.

       9.       Attached hereto as Exhibit 8 is a true and correct copy of excerpts from the

deposition transcript of Kenneth Loo, dated September 7, 2022

       10.      Attached hereto as Exhibit 9 is a true and correct copy of excerpts from the

deposition transcript of David Cohen, dated September 22, 2022.

       11.      Attached hereto as Exhibit 10 is a true and correct copy of documents produced

by Mr. Rothschild in this action, Bates numbered Rothschild008283.

       12.      Attached hereto as Exhibit 11 is a true and correct copy of an email that I sent to

Oren Warshavsky, dated October 11, 2022.

       13.      Attached hereto as Exhibit 12 is a true and correct copy of documents produced

by Mr. Rothschild in this action, Bates numbered Rothschild018426-018476.

       14.      Attached hereto as Exhibit 13 is a true and correct copy of excerpts from the

deposition transcript of Bruce Isaacson, dated September 20, 2022.




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       15.     My firm engaged a nationally recognized discovery vendor, Consilio, with whom

we have worked on numerous cases, to provide services in this case, including to collect, search,

and prepare for production electronically stored information (ESI) in Mr. Rothschild’s

possession, custody, or control. On June 8, 2022, Consilio collected voluminous ESI from Mr.

Rothschild and various accounts that belong to him, including but not limited to all of Mr.

Rothschild’s phone, computer, messaging data, and emails, complete social media data for

numerous accounts, and all of the data from Mr. Rothschild’s Discord account. We then worked

diligently to conduct a reasonable search and review of that ESI for responsive documents under

the deadlines in this case, and we produced to Plaintiffs more than 18,000 pages during

discovery.

       16.     On October 17, 2022, my office was first made aware that Mr. Rothschild’s

Discord data had been produced in a limited, unusable format. Consilio explained to me for the

first time that day that this was because of the unusual nature of the Discord software; though

Consilio uses industry standard tools to collect, search, and produce ESI, Consilio’s

representatives explained that their tools did not allow them to search and produce Discord

messages in the way that they are able to produce other types of electronic communications. A

more detailed explanation of the issue is contained in the Declaration of James Kerr dated

October 19, 2022.

       17.     During discovery in this case, Plaintiffs’ counsel never alerted my office that Mr.

Rothschild had failed to produce responsive Discord messages in an intelligible or usable format.

Had Plantiffs’ counsel raised this issue with us during discovery, we would have worked

cooperatively and expeditiously to produce Mr. Rothschild’s responsive Discord data in an




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intelligible and usable format, as we worked cooperatively and expeditiously to remedy other

deficiencies that Plaintiffs’ counsel wrote to us about over the course of discovery.

       18.     I declare under penalty of perjury that the foregoing is accurate to the best of my

knowledge.


Dated: October 21, 2022
       New York, New York
                                                     /s/ Rhett O. Millsaps II
                                                     Rhett O. Millsaps II




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